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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 19-cr-20272-BLOOM/Valle

 UNITED STATES OF AMERICA,
           Plaintiff,

 vs.

 MATTHEW ALEXANDER KING,
     Defendant.
                                       /

       DEFENDANT’S MOTION TO BE ADJUDGED INDIGENT FOR COSTS

         COMES NOW the Defendant, MATTHEW ALEXANDER KING, by and though

  undersigned counsel, and moves for the entry of an Order by this Honorable Court, ex parte, to

  declare him indigent for the purposes of necessary costs for trial, under the Criminal Justice

  Ace, 18 U.S.C. § 3006A (e)(1), and respectfully requests that this matter be set for a hearing as

  to his indigent status. As grounds for this Motion, the Defendant states the following:

        1.      The defendant was indicted in the instant case (“KING2”) on May 9, 2019, in a 6-

 count indictment, charging the defendant during a time period in or about December 2018

 through February 13, 2019 as follows:

        (1)     Retaliation against a federal judge.
        (2)     Solicitation to commit a crime of violence against that federal judge.
        (3)     Solicitation to commit a crime of violence against a AUSA.
        (4)     Solicitation to commit a crime of violence against a Special Agent.
        (5)     Solicitation to commit a crime of violence against a cooperating witness.
        (6)     Use of interstate commerce facilities in the commission of murder-for-hire of 8
 persons, including those above.

        2.      The defendant’s charges in the instant indictment (“KING2”) arise out of or are

 related to case no. 18-cr-20591-RAR (“KING1”), in which the defendant entered a guilty plea on

 October 9, 2018, to one count of use of interstate commerce facilities in the commission of
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 murder-for-hire, from on or about June 16, 2018, through on or about June 26, 2018, in Miami-

 Dade County, Florida.

                                                 “KING1”

         3.      In KING1, the defendant underwent at least 2 mental examinations: on September

 27, 2018 with Jethro Toomer, Ph. D. (the report of which was issued on October 15, 2018, after

 the change of plea), and a forensic psychiatric examination by Michael Maher, M.D. (conducted

 on November 11, 2018 and the report issued on January 8, 2019.) In KING1, Maher’s forensic

 psychiatric evaluation made a diagnosis of “Attention Deficit Disorder, Adult. Personality

 Disorder Mixed. Immaturity, characterized primarily by social and relationship limitations

 consistent with Autistic Spectrum Disorder,” wherein he “demonstrated difficulty, distress, and

 frustration when repeatedly asked by the examiner to further explain difficult circumstances of

 his life….” The examination noted a head injury when the defendant fell out of bed at 10 months

 of age; an automobile accident with associated head and neck injuries at age 6; and a period of

 loss of consciousness when he was hit by a foul baseball at age 9. It concluded, among other

 things, that he has “limited and impaired understanding of the wrongfulness of his actions,” yet

 he is “amenable to intervention and treatment….” Toomer’s psychological evaluation found

 deficits in cognitive, psychological and behavioral functioning that are of long duration, with

 below average intellectual functioning, and consistent with the likelihood of organic brain

 impairment. (DE 23-1) The defendant has an extensive history of mental incapacity, documented

 by a 2007 University of Miami evaluation, diagnosing him with Sluggish Cognitive Tempo, and

 Developmental Coordination Disorder, and 2009-2010 IEP’s.

         4.      In KING1, the defendant was sentenced on January 14, 2019, (during the same

 time of the alleged conduct in the instant case, KING2), to imprisonment for 97 months and a
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 term of supervised release of 3 years, and to receive mental health treatment while in custody,

 based upon issues of diminished capacity presented at sentencing through the above referenced

 psychiatric report of Maher. Restitution issues are still pending, for which PSR objections are

 due by the Defendant on August 30, 2019. (KING 1, DE 64)

         5.      At or about this time, the defendant was moved from the Special Housing Unit of

 the Miami FDC, and has been detained up until recently in the Broward County Jail under

 federal custody for restitution proceedings in KING1.

         6.      The defendant is also under state indictment for related charges, in Florida v.

 Matthew Alexander King, Case No. 2018-011074FC54. The defendant is also a Respondent in a

 TPR proceeding, in Re: The Interest of Oliva King, Case No. 18-15441 TP D203, (Miami Dade

 Circuit Court, Juvenile Division)

                                                 “KING2”

         7.      As early as February, 2019, the United States commenced another proactive

 investigation of the defendant while he was incarcerated at Miami FDC and awaiting his

 restitution hearing, using cooperating and/or undercover witnesses, involving emails, mail,

 telephonic, and in person communications, which resulted in the instant indictment, according to

 the discovery provided in the instant case.

         8.      On August 8, 2019, the undersigned, after having extensively reviewed and

 briefed voluminous discovery in the instant case, KING2, met with the defendant in the

 Broward County Jail and reviewed extensive, material evidence with the defendant in the instant

 case, KING2. The undersigned was accompanied by the defendant’s counsel in a related state

 criminal proceeding, Russell Spatz, Esq., and defendant’s counsel in a related state TPR

 proceeding, Richard Joyce, Esq. All counsel concur that the defendant’s responses to counsel’s
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 efforts to weigh the evidence and make informed choices indicate impairment on the defendant’s

 part so as to prevent the defense from being ready on September 3.

         9.      On August 8, 2019, at this client meeting, the undersigned learned that the

 defendant’s telephone privileges were suspended at the Broward County Jail, and that the

 defendant was approached by someone representing himself as law enforcement agent

 conducting another ongoing investigation of the defendant.

         10.     The undersigned and both state criminal counsel and state TPR counsel for the

 defendant also agree that the undersigned needs to be forensically evaluated with details of the

 evidence, regarding his competency to stand trial and participate in his defense, as well as his

 competency at the time of the offense.

         11.     On August 9, 2019, the undersigned contacted counsel for the government in

 KING2 and confirmed that the defendant is under another federal investigation for activities that

 recently occurred at the Broward County Jail.

         12.     The undersigned has contacted the Assistant United States Attorney, who does not

 oppose a continuance for purposes of these evaluations, and further preparation to be completed,

 and further discovery to be completed regarding the pending investigation.

         13.     That the Defendant has been incarcerated since June 26, 2018.

         14.     That the father, of the Defendant, Conrad King, has retained undersigned counsel

 to represent the Defendant in this cause and counsel’s legal fees are still being paid.

         15.     That the father has raised this money through his employment, and relatives.

         16.     That he has exhausted all of his resources.

         17.     That the Defendant is financially unable to pay any costs. See Proposed

 Affidavit attached as an Exhibit to this Motion.
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         18.     That the Defendant requires costs for investigation, duplication of discovery,

 trial subpoenas and transcripts.

         19.     Expert witnesses in the fields of Psychiatry, Neurology, and/or Psychology,

 are necessary to, evaluate the defendant for competency to participate in his defense, stand

 trial, and/or competency at the time of the alleged offenses, or to present to the jury for an

 adequate defense. This testimony may also be necessary to impeach the testimony of

 government witnesses who might testify to the same subject matter.

         20.     Without the benefit of expert witness testimony, the undersigned and

 Defendant will be hampered in effective representation, weighing options of going to trial or

 entering a plea and presenting an effective defense and/or issues relative to potential

 sentencing.

         21.     The anticipated costs for travel, lodging, witness fees, and document review for

 the witnesses are currently unknown but experts in this field command substantial fees which

 the defendant cannot afford.

         22.     Section (e) of the Criminal Justice Act provides: “Counsel for a person who is

 financially unable to obtain investigative, expert, or other services necessary for adequate

 representation may request them in an ex parte application.” 18 U.S.C. § 3006A(e)(1). Under the

 Act, the Court is required to authorize funds when a defense attorney, whether privately retained

 or CJA-appointed, “makes a reasonable request in circumstances in which he would

 independently engage such services [if his client was able to pay for them].” United States v.

 Salameh, 152 F.3d 88, 118 (2nd Cir. 1998) (citing United States v. Durant, 545 F.2d 823, 827

 (2nd Cir. 1976)). The Court is “obligated to exercise [its] discretion in determining whether such

 services are necessary.” Id. (citing United States v. Oliver, 626 F.2d 254, 260 (2nd Cir. 1980)).
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         WHEREFORE, the Defendant requests this Court declare him indigent for the purpose of

 providing him with the costs necessary for effective representation and/or to present his defense,

 and set a hearing as necessary on this motion.

          I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk using

  CM/ECF and copies were furnished electronically to all parties of record this 27 day of

  August, 2019.

                                                        Respectfully Submitted By:

                                                        /s/ Nathan D. Clark
                                                        NATHAN D. CLARK
                                                        Florida Bar No. 340561
                                                        Coral Reef Law Offices, P.A.
                                                        17641 S. Dixie Highway
                                                        Miami, FL 33157
                                                        (305) 255-7500
                                                        Email: nclark@coralreeflaw.com

                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Motion To Be
 Adjudged Indigent For Costs on this 27 day of August, 2019, has been served via the CM/ECF
 Southern District of Florida E-Filing Portal to:

 Michael Felicetta, Esq.
 Assistant U.S. Attorney
 Middle District of Florida
 Ocala Division
 35 SE 1st Avenue, Suite 300
 Ocala, FL 34471
 T: (352) 547-3600
 Email: Michael.felicetta@usdoj.gov
                                                               /s/ Nathan D. Clark
                                                               NATHAN D. CLARK
                                                               Florida Bar No. 340561
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              CASE NO. 19-cr-20272-BLOOM/Valle

 UNITED STATES OF AMERICA,
           Plaintiff,

 vs.

 MATTHEW ALEXANDER KING,
     Defendant.
                                        /

                                            AFFIDAVIT

        1.     I, MATTHEW ALEXANDER KING, am the Defendant in the above styled cause
 ad am charged by Indictment with the following 6 counts:

 I, Retaliation Against a Fed. Official, (U.S. Dist. Ct. Judge R.S.)   (18 U.S.C.§115(a)(1)(B))
 II, Solicitation of Crime of Violence (U.S. Dist. Ct. Judge R.S.)     (18 U.S.C.§373(a))
 III, Solicitation of Crime of Violence (AUSA D.N.)                    (18 U.S.C.§373(a))
 IV, Solicitation of a Crime of Violence (Sp. Agent J.G.)              (18 U.S.C.§373(a))
 V, Solicitation of a Crime of Violence (A.R.)                         (18 U.S.C.§1513(a)(1)(B))
 VI, Murder-for-Hire (R.S., D.N., J.G., A.R., R.A., J.M., M.S.)        (18 U.S.C.§1958(a))

          2.    My Father, Conrad King has retained NATHAN D. CLARK, ESQUIRE to defend

 me in the Federal District Court for the Southern District.

          3.    I have no funds for necessary costs for the preparation of a defense in this cause.

          4.    I have          dependents.

          5.    I have take home income of $            paid ( ) weekly ( ) biweekly ( ) semi-

 monthly ( ) monthly ( ) yearly.

          6.    I have other income paid ( ) weekly ( ) biweekly ( ) semi-monthly ( ) monthly

 ( ) yearly: (check “Yes” and fill in the amount if you have this kind of income, otherwise check

 “No”).

          Social Security benefits                             Yes $                 No
          Unemployment compensation                            Yes $                 No
          Union Funds                                          Yes $                 No
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        Worker’s Compensation                                Yes $                 No
        Retirement/Pension                                   Yes $                 No
        Trusts or Gifts                                      Yes $                 No
        Veteran’s Benefits                                   Yes $                 No
        Child Support or other regular support
                From family members/spouse                   Yes $                 No
        Rental Income                                        Yes $                 No
        Dividends or Interest                                Yes $                 No
        Other kinds of income not on the list                Yes $                 No

        7.     I have other assets:   (check “Yes” and fill in the amount if you have this kind of

 income, otherwise check “No”)

        Cash                                                 Yes $                 No
        Bank Accounts                                        Yes $                 No
        Certificates of Deposit or money market accounts     Yes $                 No
        *Equity in motor vehicles/boats or other tangible
                Property                                     Yes $                 No
        List the year/make/model and tag #:
        Savings                                              Yes $                 No
        Stocks/Bonds                                         Yes $                 No
        Equity in Real Estate (excluding homestead)          Yes $                 No
        Address of Property:

        8.     I have a total amount of liabilities and debts in the amount of $          .

        9.     I receive: (Check “Yes” or “No”)

        Temporary Assistance for Needy
               Families/Cash Assistance                      Yes $                 No
        Poverty – related veterans’ benefits                 Yes $                 No
        Supplemental Security Income (SSI)                   Yes $                 No

        10.    I have not been released on bail.


                                                             Matthew Alexander King

        Sworn and subscribed to before me, the undersigned authority, by Matthew Alexander
 King, personally known to me ( ) or produced as identification
 this    day of August, 2019.



               Notary Public
